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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                 IN ADMIRALTY

  ___________________________________
  GREAT WHITE FLEET LTD.

                   Plaintiff,

                   Vs                                             Case No: 0:19cv62458

  M/V WARNOW WHALE, her engines, tackle,
  etc., in rem and PRINCESIA SHIPPING
  COMPANY LIMITED, in personam,

              Defendants.
  ____________________________________


                        PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL


                   Plaintiff Great White Fleet, Ltd., by its attorneys Tomaselli & Co. and Casey &
  Barnett, LLC., hereby voluntarily dismisses this action without prejudice pursuant to Fed. R.
  Civ. Pro. 41.


  Dated:           Fort Lauderdale, Florida
                   17 October 2019

                                                        TOMASELLI & CO.



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